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lN THE UN|TED STATES DlSTRlCT COURT
FOR THE D|STRICT OF COLORADO

Civi| Action No. 12-cv-02858~Rl\/|-MJW

GLENN PICCO and
FRANC|NE PICCO,

Plaintiffs,

vs.

KELLY R. GLENN, D.O., and

VALLEY V|EW HOSP|TAL ASSOC|AT|ON,

Defendants.

 

NOT|CE OF SETTLEMENT

 

Plaintiffs Glenn and Francince Picco, through counsel, hereby submit the
following Notice of Settlement.

Plaintitfs inform the Court that the parties to this action have reached a
settlement and the Court may vacate the November 2, 2015 trial date. The parties Wil|
submit the necessary stipulation for the dismissal of this action at the earliest possible
date. b

Respectfully submitted this 28th day of September, 2015.

s/ FredM

Fred Paoli, Jr.

|sobel S. Thomas

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CERT|F|CATE OF SERV|CE

| hereby certify that on September 28, 2015, l served the foregoing document to
the following parties via emai_|:

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